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           EXHIBIT “1”
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 IN RE: PHILIPS RECALLED CPAP, BI-LEVEL PAP,                   )   Master Docket No.:
 AND MECHANICAL VENTILATOR PRODUCTS                            )   Misc. No. 21-01230
 LIABILITY LITIGATION

                                                               )
 This Document Relates To:                                     )   MDL NO. 3014
                                                               )
 Personal Injury Claimants and Potential Claimants             )



                   DECLARATION OF MATTHEW L. GARRETSON, ESQ

I, Matthew L. Garretson, Esq., declare and state as follows:

       1.      I am the founder of Garretson, LLC and am an attorney licensed to practice law in

the State of Ohio. My curriculum vitae and summary of professional experience are attached hereto

as Exhibit A. Since 1998, I have been designing and overseeing claims processing operations for

settlement programs in litigations involving product liability and environmental hazard claims.

       2.      I have been appointed (either personally or as part of organizations I have led) by

numerous parties and federal and state courts to serve as a Special Master, Allocation Neutral,

and/or Claims Administrator to provide settlement services in a broad variety of national mass tort

and class action matters, including several multidistrict litigations (“MDLs”).

       3.      A comprehensive list of my engagements is contained in Exhibit A and includes

the following representative matters:

               •      In re World Trade Center Disaster Site Litigation, MDL Docket Nos.

MC100, 102-03 (S.D.N.Y.), where I served as the Allocation Neutral for claims asserted against
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the World Trade Center Captive Insurance Company, Inc. relating to the September 11th

Consolidated Cases.

              •       Deepwater Horizon Litigation, MDL 2179 (E.D. La.), where I served as the

Trustee of the Medical Benefits Settlement and, as Claims Administrator, designed and

implemented a 21-year periodic medical evaluation program that involved over 22,000 eligible

class members entitled to claim compensation and/or medical consultation services.

              •       National Football League Players’ Concussion Injury Litigation, MDL

2323 (E.D. Pa.), where I designed and implemented a medical evaluation program comprised of a

national network of medical service providers who provided baseline assessments of

neurocognitive function and follow-up care for an estimated 17,000 players over 10+ years.

              •       Vioxx Product Liability Litigation, MDL Docket No. 1657 (E.D. La.),

where I served as the Lien Resolution Administrator tasked with resolving health care

reimbursement claims (or “liens”) asserted against over 10,000 claimants by Centers for Medicare

& Medicaid Services (“CMS”), all 53 state and territory Medicaid agencies; and several other

governmental healthcare payers, such as the Veterans Affairs, TRICARE, and Indian Health

Services.

              •       In re Flint Water Cases, 5:16-cv-10444 (E.D. Mich.), where I was

appointed in February 2023 to bring our unique claim adjudication and allocation technology,

claims adjudication skills, and processing knowledge to bolster the existing administration

framework in In re Flint Water Case.

              •       In re 3M Combat Arms Earplug Products Liability Litigation, MDL Docket

No. 2885 (N.D. FL), where I was appointed as Allocation Special Master to design and oversee

the allocation methodology to calculate settlement awards to over 250,000 eligible claimants.


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               •       City of Camden, et al. v. E.I. du Pont de Nemours and Company (n/k/a

EIDP, Inc.), et al., Case No. 2:23-cv-03230 and in the case of City of Camden vs. 3M Company,

Case No. 2:23-cv-03147, where I was appointed to serve as Special Master in two related cases

filed in the Aqueous Film-Forming Foams Multi-District Litigation (the “AFFF MDL,” Case No.

2:18-mn-2873) –Both cases involve settlement agreements with the 3M and DuPont defendants to

resolve the claims of public water systems who allege harm to their drinking water from PFAS.

       4.      Pursuant to these appointments and engagements, I have been responsible (either

personally or through organizations I have led) for designing and overseeing efforts to notify class

members/claimants of a proposed settlement; to process claims for compensation (including award

allocation); to monitor or assess later manifesting conditions (i.e., “medical monitoring”); to

resolve the claimants’ or class members’ healthcare liens (such as those asserted by Medicare,

Medicaid, and other governmental agencies and/or private health insurance providers); to hear

requests for reconsideration, recalculation, or appeal of settlement awards; to disburse settlement

funds; to manage the assets of settlement trusts (including serving personally as trustee); to

maintain and manage claimant/class member education and outreach centers; to provide reports to

courts overseeing settlements; to assist the parties in resolving disputes (consistent with the

settlement agreements in those matters); to oversee supplemental funds related to base settlement

awards (i.e. extraordinary injury funds, extraordinary compensation funds, special needs funds),

and to interact with counsel, the relevant court, and/or a settlement program’s oversight body.

       5.      I am experienced with innovative technology that has made the review and

adjudication of proof of claims at scale more efficient than ever before. Specifically, in recent

settlements, I have successfully implemented platforms which utilize the power of clinical

linguistics, artificial intelligence, and machine learning to improve the accuracy and speed of the


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claim adjudication process. In the simplest terms, this means that Special Masters and Claim

Administrators can now operate a guided review process with a system that can automate analysis

of records and data to identify proof of exposure and damages quickly and objectively in the

records and route that information automatically to the methodology or system that calculates

compensation.

       6.       I have reviewed the Personal Injury Master Settlement Agreement in the above

capationed matter, dated May 9, 2024.

       7.       I declare that I am experienced, qualified, and ready to serve as Allocation Special

Master to create an Allocation Methodology to calculate Settlement Awards for each Eligible

Claimant who becomes a Registered Claimant in the Personal Injury Settlement Program, to

review and approve the Settlement Administrator’s application of this Allocation Methodology

and resulting Settlement Awards, and to provide quasi-judicial intervention if and/or when

necessary as contemplated in the administration of the proposed Settlement.

       8.       I declare under penalty of perjury that the foregoing is true and correct.



Executed on May 9, 2024, in Park City, UT.




                                                   Matthew L. Garretson




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                            Exhibit A
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Garretson, LLC provides design, administration and oversight of complex operations in
settlement programs related to individuals or businesses that experience a catastrophic event.
Our services help stakeholders in such programs achieve controlled, predictable outcomes.
Relevant experience in select high profile matters:

                        PG&E Fire Victim Trust (Docket No. 8053, Confirmed by
                        United States Bankruptcy Court, Northern District of
                        California)

                        Equifax Inc. Customer Data Security Breach
                        Litigation (MDL Docket 2800, United States District Court,
                        Northern District of Georgia)

                         World Trade Center Disaster Site Litigation (MDL Docket
                         MC100, MC102 and MC103, United States District Court,
                         Southern District of New York)

                         Deepwater Horizon Litigation (MDL 2179, United States
                         District Court, Eastern District Louisiana)


                         National Football League Players’ Concussion Injury
                         Litigation (MDL 2323, United States District Court, Eastern
                         District of Pennsylvania).


                         Archdiocese of Louisville (In re: Roman Catholic Bishop of
                         Louisville, Inc., Jefferson Circuit Court, Louisville, Kentucky).




                         Archdiocese of Cincinnati Claims Restitution Fund


                         Cincinnati Policing (Case No. C-1-99-3170, United States
                         District Court, Southern District of Ohio)



                         Zyprexa Products Liability Litigation (MDL 1596, United
                         States District Court, Eastern District of New York)
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              Vioxx Products Liability Litigation (MDL 1657, United
              States District Court, Eastern District of Louisiana)

              Pelvic Repair System Products Liability Litigation [a/k/a
              Transvaginal Mesh] (MDL 2326, United States District Court,
              Southern District of District of West Virginia)

              Avandia Marketing, Sales Practices, and Products Liability
              Litigation (MDL 1871, United States District Court, Eastern
              District of Pennsylvania)


              Actos Products Liability Litigation (MDL 2299, United
              States District Court, Western District of Louisiana)



              Remington Arms Company (Case No. 4:13-CV-00086-OD
              (Western District of Missouri)

              TK Holdings Inc. (a/k/a Takata Airbags (Case No. 17-11375,
              United States Bankruptcy Court, District of Delaware)




              Anderson Settlement Program (related to plaintffs who filed
              claims against the University of Michigan in E.D. of Michigan
              2:20-cv-10568).


              Strauss Individual Settlement Program (related to plaintiffs
              who filed claims against The Ohio State University in S.D.
              Ohio Case No.’s 2:18-cv-00692, 2:18-cv-00736, 2:19-cv-
              02462).


              In re Flint Water Cases, 5:16-cv-10444 (E.D. Mich.)




              In re Aqueous Film-Forming Foams Products Liability
              Litigation

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              In re 3M Combat Arms Earplug Products Liability Litigation,
              MDL Docket No. 2885 (N.D. FL)




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                        Matthew Garretson
                        Matt@GarretsonTeam.com



Matthew Garretson received a BA from Yale University, a law degree at Kentucky’s Salmon P.
Chase College of Law and a Masters in Theology from Chicago Theological Seminary.

Garretson has served as the special master or administrator of settlement funds and crisis
response programs through the country in environmental disaster, product liability, civil rights,
sexual abuse and other cases. In this capacity, Garretson has substantial firsthand experience
with the design, administration and/or oversight of hundreds of class action and mass tort
resolution programs. Further, he has extensive experience adjudicating and allocating claims as a
court-appointed neutral and has modernized the approach to such claims adjudication using the
power of clinical linguistics, artificial intelligence and machine learning with Pattern Data
(https://patterndata.ai).

Garretson is also the author of a legal textbook published by West Publishing entitled
“Negotiating and Settling Tort Cases,” in addition to several articles regarding professional
responsibility in settlements. He is a frequent speaker at Continuing Legal Education seminars
regarding lawyers’ professional responsibilities in class action and other mass tort matters,
including The American Association For Justice, The American Bar Association, The Rand
Corporation, DRI and dozens of state attorney associations. Garretson also serves as a member
of the Advisory Board for Rand Center for Catastrophic Risk Management and Compensation.

In addition to being the founder Garretson, LLC, Garretson is the co-founder of Signal
Interactive Media (www.signalinteractive.com), a firm dedicated to improving the efficacy of
class notice through contemporary data analytics and mass media. He is also a founder of
BurnBright, LLC (www.BurnBright.com), a firm that provides research, data analytics and
technology to create engaging, interactive micro-learning content. Garretson’s work with Signal
and BurnBright provides him unique insights into creating relevant learning experiences to
increase claimant/class member engagement with and participation in settlement or crisis
response programs.

He is also the co-Founder and former CEO of The Garretson Resolution Group, Inc (“GRG”),
which provides lien resolution and complex settlement administration services in mass torts. In
2018, Garretson led the sale of GRG to Epiq, a worldwide provider of legal services.
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When he is not designing or overseeing settlement programs, Garretson spends his time pouring
into BurnBright Institute (“BBI”). BBI provides learning management systems for innovators
and leaders of non-profit organizations operating in the Dominican Republic, Haiti and Mexico
with an emphasis on improving the well being of vulnerable youth, their families and their
communities.

Speaking Engagements (re: Aggregate Settlements, Legal Ethics & Professional
Responsibility)

   •    AAJ Annual Meeting ‘03, ‘06, ‘08
   •    AAJ Hormone Therapy ‘04
   •    AAJ Mid-Winter ‘05, ‘06
   •    AAJ Weekend with the Stars ‘06
   •    AAJ Nursing Home Litigation Seminar ‘08
   •    AAJ Ski Medical Seminar ‘08
   •    AAJ Winter Convention ‘08, ‘13
   •    AAJ MSP Teleseminar ‘12
   •    American Bar Association Annual Convention ‘15
   •    Catholic Health Initiatives ‘08
   •    Colorado Trial Lawyers Association Winter Convention ‘09, ‘12
   •    Connecticut Trial Lawyers Association ‘09
   •    Consumer Attorneys of California ‘01, ‘03, ‘04, ’06, ‘09
   •    Consumer Attorneys of Sonoma County ‘01
   •    DRI Annual Meeting ‘07
   •    DRI Mass Torts MSP Webcast ‘13
   •    Duke Law Center for Judicial Studies ‘16
   •    Federal Trade Commission, Class Action Notice Workshop ‘19
   •    Florida Justice Association ‘09
   •    Georgia Trial Lawyers Association ‘08, ‘09
   •    George Washington University Law School ‘16
   •    Hamilton Country Trial Lawyers Association ‘05
   •    Harris Martin ‘13, ‘15, ‘15, ‘16
   •    Hormone Replacement Therapy Seminar ‘07
   •    Indiana Trial Lawyers Association ‘09
   •    Kansas Trial Lawyers Association ‘03, ‘04, ‘07
   •    Kentucky Academy of Trial Lawyers ‘06
   •    Kentucky Justice Association ‘08
   •    Louisiana State Bar Association Admiralty Symposium ‘07, ‘13, ‘14, ‘15
   •    Louisiana Bar Mass Tort Symposium ‘02, ‘04
   •    Louisiana State Bar Assoc. Complex Litigation Symposium ‘13, ‘16
   •    Louisiana Trial Lawyers Association Annual ‘07
   •    Mass Torts Made Perfect ‘03, ‘04, ‘06, ‘08, ‘13
   •    Mass Torts Made Perfect Judicial Forum ‘13
   •    Mealey’s Lexis/Nexis Art of Negotiation ‘07

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   •    Mealey’s Lexis/Nexis Contingency Fees ‘07
   •    Mealey’s Lexis/Nexis Ethics ‘07
   •    Mealey’s Lexis/Nexis Client Expenses ‘06
   •    Mealey’s Lexis/Nexis Emerging Drug and Devices ‘04
   •    Mealey’s Lexis/Nexis MMSEA ‘08
   •    Mealey’s Medicare & ERISA Liens: New Developments ‘09
   •    Mississippi Trial Lawyers Association ‘02
   •    Michigan Negligence Law Section ‘09
   •    Michigan Association for Justice ‘08
   •    Minnesota Trial Lawyers Association ‘09
   •    Montana Trial Lawyers Association ‘08
   •    New York Academy of Trial Lawyers ‘07
   •    Norfolk and Portsmouth Bar Association ‘03
   •    NABIS – Medical Issues in Brain Injury ‘05, ‘06, ‘07
   •    Ohio Academy of Trial Lawyers Annual ‘03, ‘04, ‘05, ‘06, ‘07
   •    Ohio Academy of Trial Lawyers Subrogation Seminar ‘06
   •    Ohio Academy of Trial Lawyers Worker's Compensation ‘07
   •    Ohio Association for Justice ‘08, ‘09
   •    Insurance/Negligence Seminar ‘09
   •    Ohio State Bar Association Annual Convention ‘06
   •    Ohio Trial Advocacy Seminar ‘04, ‘06
   •    Oklahoma Trial Lawyers Association ‘07
   •    Perrin Conferences ‘12, ‘13
   •    Philadelphia Assn. for Justice ‘08
   •    Plaintiff Asbestos Litigation Seminar ‘07
   •    Professionally Speaking Seminar ‘07
   •    RAND Corporation ’16, ‘17
   •    San Antonio Trial Lawyers Association ‘07
   •    Society of Settlement Planners ‘07
   •    TBI Symposium - Brain Injury Association of Ohio ‘04, ‘06
   •    TPL-COB National Conference ‘07
   •    Utah Bar Association Annual Seminar ‘05
   •    Utah Trial Lawyers Brain Injury ‘02, ‘03, ‘04, ‘05, ‘06, ‘07
   •    Utah Trial Lawyers Association Annual Convention ‘07
   •    Utah Association for Justice ‘09
   •    Virginia Trial Lawyers Association ‘05

Publications

   •    Negotiating and Settling Tort Cases, ATLA / West Publishing (2007). Updated 2013,
        2015.
   •    A Fine Line We Walk: Counseling Clients About the “Form” of Settlement, 13 A.B.A.
        Prof’l Law. 4, 2002.
   •    Don’t Get Trapped By A Settlement Release, Trial Magazine, September 2003.



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•    A Practical Approach to Proactive Client-Counseling and Avoiding Conflicts of Interest
     in Aggregate Settlements, The Loyola University Journal of Public Interest Law, Volume
     6, 2004.
•    Deferring Attorney Fees: Is There Now a Critical Mass of Enabling Legislation? Ohio
     Trial, Volume 14, Issue 2, 2005.
•    Making Sense of Medicare Set-Asides, Trial Magazine, May 2006.
•    What Does the Ahlborn Decision Really Mean? Ohio Trial, Fall 2006.
•    Medicare’s Reimbursement Claim - The Only Constant is Change, Ohio Trial, Spring
     2007.
•    One More Thing to Worry About in Your Settlements: The Medicare, Medicaid and
     SCHIP Extension Act of 2007, Philadelphia Trial Lawyers Association Verdict, Volume
     2007, Issue 6.
•    Act II – Reporting Obligations for Settling Insurers where Medicare is a Secondary
     Payer: The Medicare, Medicaid and SCHIP Extension Act of 2007, May 18, 2009.
•    Easing Health Care Lien Resolution, AAJ Trial Magazine, October 2010.
•    The Medicare, Medicaid and SCHIP Extension Act of 2007, Section 111 Reporting: One
     More Thing to Worry About in Your Settlements, March 2012.
•    The SMART Act: How a New Federal Law Could Fast Track Your Settlements, 2013.




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